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                  Exhibit 6
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

MICHELLE MARINO, DEBORAH                   CASE NO.:
ESPARZA, MONICA RAEL, and CERA             1:16-cv-01122-VEC (OTW) (Lead)
HINKEY, on behalf of themselves and all
others similarly situated,                 Consolidated Member Case Nos.:
                                           1:16-cv-03773-VEC (OTW)
              Plaintiffs,                  1:16-cv-03677-VEC (OTW)
                                           1:16-cv-05320-VEC (OTW)
      v.

COACH, INC.

              Defendant.


 DECLARATION OF RICHARD LAMBERT IN SUPPORT OF APPLICATION FOR
        ATTORNEY FEES, EXPENSES, AND INCENTIVE AWARDS
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I, Richard Lambert, declare as follows:

       1.      I am an attorney duly admitted to practice law before all courts of the State of

California, I am of counsel in the law firm of Stonebarger Law, A Professional Corporation for

Plaintiffs and the Class herein. I make this declaration in support of Plaintiffs’ Unopposed Motion

for Attorneys’ Fees, Costs, and Incentive Awards. If called as a witness, I could and would

competently testify to the following:

       2.      I have personally been involved in the investigation and prosecution of this class

action from its inception through the present.

       3.      I have spent 61.3 hours to date at the rate of $595 per hour, in prosecuting this case

on behalf of the Class through the date of this declaration. These hours spent were calculated from

daily time records consistently and contemporaneously maintained by lawyers and professional

staff throughout the entirety of this litigation. My current hourly rate has been approved by both

state and federal Courts throughout California including in the following false pricing cases such

as this one: (i) Ramos v. PVH Corporation, Case No. 34-2018-00234829-CU-NP-DGS; (ii) Guess

Outlet Stores Pricing, JCCP No. 4883; (iii) Press, et al. v. J. Crew Group, Inc., Case No. 56-2018-

0052503-CU-BT-VTA; and (iv) Ramos v. AM Retail Group, Inc., Case No. 34-2019-00250084-

CU-NP-GDS. My firm’s current fee lodestar is $36,473.50.

       4.      My firm has spent approximately $3,160.55 in un-reimbursed expenses incurred in

connection with this case. A breakdown of my firm’s additional costs incurred in this action is set

forth below:

                           Description                           Amount
               Court Fees                                                 $1,100.00
               Travel to New York                                         $1,900.48
               Postage                                                      $160.07
               Grand Total:                                               $3,160.55




                                                 2
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       5.      My lodestar billing time records are available if required by the Court. A general

summary of my firm’s accrued time is as follows:


 General Description             Hours             Rate          Lodestar
 Pre-Filing Tasks:               9.1               $595          $5,414.50

 Client meetings; Perform
 Research and Analysis;
 Review Client Documents;
 Draft Complaint


 Case Management:                32                $595          $19,040.00

 Attend Case Management
 Conferences; Prepare and
 review stipulations; client
 discussions; periodic
 teleconferences; strategy
 meetings with co-counsel;
 client meetings.

 Pleadings:                      16.6              $595          $9,877.00

 Reviewed; amended
 complaints. Reviewed and
 revised Opposition to Motion
 to Dismiss.

 Preliminary Approval and        2.4               $595          $1,428.00
 Settlement Agreement:

 Review and revise Settlement
 Agreement and Preliminary
 Approval Documents

 Motion for Attorneys’ Fees:     1.2               $595          $714.00

 Draft Declaration in Support
 of Motion for Attorneys’ Fees
 TOTAL                           61.3              $595          $36,473.50




                                               3
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       6.      Attached hereto as Exhibit ‘A’ is a true and correct copy of Stonebarger Law,

APC’s firm resume Stonebarger Law, APC has extensive experience in complex business litigation

and class actions. Stonebarger Law, APC, substantially concentrates its practice in the prosecution

of class actions and I have successfully served as Class Counsel or Co-Class Counsel prosecuting

numerous Class Actions to Judgment against large corporations, recovering tens of millions of

dollars in benefits for individuals across the country.

       I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct, and that this declaration was executed on January 11, 2021, in

Folsom, California.

Executed this 11th day of January 2021.
                                                            s/ Richard Lambert
                                                            Richard Lambert




                                                  4
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                 Exhibit A
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STONEBARGER LAW, APC, is a law firm dedicated to representing the interests of
individuals and small businesses throughout the Country in all aspects of civil litigation.
The firm specializes in Class Action Litigation. Our Attorneys have successfully served
as Lead or Co-Lead Class Counsel prosecuting numerous Class Actions to Judgment
against large corporations for violations of California consumer protection statutes,
recovering tens of millions of dollars in benefits for individuals across the Country. Our
Attorneys have also successfully represented many small businesses as both plaintiffs and
defendants in various litigation venues. Stonebarger Law prides itself on the ability of
our Attorneys to achieve excellent results for our clients through aggressive, precise,
efficient and honest representation.

GENE J. STONEBARGER, ESQ.

BIOGRAPHICAL INFORMATION

Gene J. Stonebarger is the founder of Stonebarger Law, APC. Mr. Stonebarger was
selected as a Northern California Super Lawyer in each of the years 2013-2019.

In 2014, Mr. Stonebarger was the recipient of the Consumer Champion Award from the
Consumer Federation of California. Mr. Stonebarger received a 2012 California Lawyer
Attorney of the Year Award (the "CLAY Award") from California Lawyer magazine for
the significant impact his legal work made in the area of Consumer Rights in 2011. Mr.
Stonebarger argued the seminal privacy rights case entitled Pineda v. Williams-Sonoma
Stores, Inc., 51 Cal.4th 524 (2011), wherein the California Supreme Court issued a
unanimous decision in favor of Plaintiff and Appellant protecting the privacy rights of
California consumers, reversing the decisions of the two lower Courts and remanding the
case for further proceedings. Mr. Stonebarger had the distinct honor of being the first
attorney to present oral argument before Chief Justice Cantil-Sakauye as she began her
tenure at the helm of the California Supreme Court and of California's vast judicial
branch.
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Mr. Stonebarger was awarded the Buck Scholarship in 1993 upon graduation from
Linden High School and then went on to receive a Bachelor of Science Degree from
U.C. Davis in 1997 and the Degree of Juris Doctor from the University of San Diego
School of Law in 2000. Mr. Stonebarger began his legal career working at the
prestigious Damrell law firm, where he handled complex civil litigation matters and
Class Actions. In January, 2004, Mr. Stonebarger co-founded Lindsay &
Stonebarger, APC. Mr. Stonebarger founded Stonebarger Law, APC in January,
2010. Mr. Stonebarger currently specializes his practice in the areas of Class Action
and Complex Business Litigation. He is admitted to practice law before all courts of
the State of California, the United States District Courts in the Northern, Eastern,
Central and Southern Districts of California, as well as the United States Court of
Appeals for the Fifth and Ninth Circuits, and the Supreme Court of the United States.

Mr. Stonebarger has successfully represented clients in numerous litigation forums in
both Federal and State Court, including but not limited to, the Judicial Council of
California, the Judicial Panel on Multidistrict Litigation, The Department of
Consumer Affairs, California Courts of Appeal, Trial Courts throughout the State of
California and Federal District Courts across the country. Mr. Stonebarger is a
member of the State Bar of California, the Consumer Attorneys of California, the
Sacramento County Bar Association and the Capitol City Trial Lawyers Association.

EDUCATION

2000 - University of San Diego School of Law (J.D.)
1997 - University of California, Davis (B.S.)

LEGAL EXPERIENCE

2010-Present: Stonebarger Law, APC (Folsom)
2004-2010:    Lindsay & Stonebarger, APC (Sacramento, Folsom)
2000-2004:    Damrell, Nelson, Schrimp, Pallios, Pacher & Silva (Modesto)

JURISDICTIONS ADMITTED TO PRACTICE

2011- United States Supreme Court
2000- U.S. Court of Appeals for the Ninth Circuit
2010- U.S. Court of Appeals for the Fifth Circuit
2008- U.S. District Court, Central District of California
2006- U.S. District Court, Southern District of California
2001- U.S. District Court, Eastern District of California
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2001- U.S. District Court, Northern District of California
2000 - California Supreme Court

PROFESSIONAL MEMBERSHIPS

State Bar of California
Consumer Attorneys of California
Sacramento County Bar Association
Capitol City Trial Lawyers Association
American Association for Justice

ACHIEVEMENTS
California Lawyer Attorney of the Year Award, 2012
Consumer Federation of California, Consumer Champion Award, 2014

LEGISLATIVE TESTIMONY

 Assembly Committee on Judiciary regarding AB 1219, May 10, 2011
 Assembly Committee on Banking regarding AB 1219, May 2, 2011

SPEAKING ACTIVITIES

 American Conference Institute, Data Privacy & Information Security, Dallas, Texas,
  June 3-4, 2010
 San Francisco Bar Association Song-Beverly Act Panel, August 23, 2011
 American Conference Institute, Privacy & Security of Consumer and Employee
  Information, Washington, D.C., February 1-2, 2012

PUBLISHED OPINIONS

   Hernandez v. Restoration Hardware, Inc., 4 Cal.5th 260 (2018)
   Aquirre v. Amscan Holdings, Inc., 234 Cal.App.4th 1290 (2015)
   Pineda v. Williams-Sonoma Stores, Inc., 51 Cal.4th 524 (2011)
   Alvarez v. Brookstone Company, Inc., 202 Cal.App.4th 1023 (2011)
   Folgelstrom v. Lamps Plus, Inc., 195 Cal.App.4th 986 (2011)
   Powers v. Pottery Barn, Inc., 177 Cal.App.4th 1039 (2009)
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RICHARD D. LAMBERT, ESQ.

BIOGRAPHICAL INFORMATION

Richard D. Lambert is of counsel of the firm. Mr. Lambert graduated from Grace M.
Davis High School in 2000. Mr. Lambert attended Occidental College earning his
Bachelor of Arts degree in Economics in 2004. Mr. Lambert attended California
Western School of Law, receiving his Juris Doctor Magna Cum Laude in 2007. While
in law school, Mr. Lambert was an Associate Editor of the California Western Law
Review & International Law Journal, an Academic Honors Instructor, and earned
three Awards for Academic Achievement (Evidence, Alternative Dispute Resolution,
& Trial Practice).

Mr. Lambert's Class Action practice is focused predominantly in the areas labor and
employment, consumer protection, and privacy rights litigation. In addition to his
Class Action practice, Mr. Lambert also handles Complex Business Litigation
matters. He is admitted to practice law before all courts of the State of California. Mr.
Lambert is a member of the State Bar of California, the Consumer Attorneys of
California, California Employment Lawyers Association, and the Sacramento County
Bar Association.

EDUCATION

2007 - California Western School of Law (J.D.), Magna Cum Laude
2004 - Occidental College (B.A.), Omicron Delta Epsilon Honors

LEGAL EXPERIENCE

2010-Present: Stonebarger Law, APC (Folsom)
2007-2010:    Lindsay & Stonebarger, APC (Folsom)

JURISDICTIONS ADMITTED TO PRACTICE

2011 - U.S. District Court, Southern District of California
2011 - U.S. District Court, Central District of California
2010 - U.S. District Court, Northern District of California
2009 - U.S. District Court, Eastern District of California
2007 - California Supreme Court
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PROFESSIONAL MEMBERSHIPS

State Bar of California
Consumer Attorneys of California
Sacramento County Bar Association
California Employment Lawyers Association
Phi Alpha Delta, Sacramento State Chapter

PUBLISHED OPINIONS

   Pineda v. Williams-Sonoma Stores, Inc., 51 Cal.4th 524 (2011)
   Alvarez v. Brookstone Company, Inc. 202 Cal.App.4th 1023 (2011)
   Folgelstrom v. Lamps Plus, Inc., 195 Cal.App.4th 986 (2011)
   Powers v. Pottery Barn, Inc., 177 Cal.App.4th 1039 (2009)

PRIVACY RIGHTS CLASS ACTION LITIGATION

Attorneys at Stonebarger Law have successfully served as Lead or Co-Lead Class
Counsel prosecuting numerous Class Actions to Judgment against large corporations for
violations of California Civil Code section 1747.08, protecting the privacy rights of
consumers, recovering tens of millions of dollars in benefits for individuals across the
country, including in the following cases:

 Matsuo v. American Golf Corporation, San Joaquin County Superior Court, Case
  No. CV024865
 Buzby v. Best Buy Co., Inc., San Diego County Superior Court, Case No. GIN040241
 Children's Place Cases, Stanislaus County Superior Court, J.C.C.P. No. 4418
 Castaneda v. Dillard's, Inc., San Joaquin County Superior Court, Case No.
  CV026899
 Barajas v. The Container Store, Inc., San Diego County Superior Court, Case No.
  GIN 041129
 Ben Bridge Jeweler Cases, Sacramento County Superior Court, J.C.C.P. No. 4474
 Mendez v. Carter's, Inc., Sacramento County Superior Court, Case No. 05AS005580
 O'Keefe v. West Marine, Inc., San Diego County Superior Court, Case No. GIC
  876869
 Barajas v. Dixieline Lumber Co., San Diego County Superior Court, Case No. GIC
  841991
 Cost Plus Credit Card Cases, Sacramento County Superior Court, J.C.C.P. No. 4507
 Wood v. Coach, Inc., Contra Costa County Superior Court, Case No. C-07-01146
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 Bell v. Genesco, Inc., San Diego County Superior Court, Case No. 37-2008-00081672
  CU-BT-CTL
 Lautenlager v. Sam Ash Music Corporation, San Diego County Superior Court, Case
  No. 37-2008-00088948-CU-BT-CLT
 Andonia v. The TJX Companies, Inc., San Diego County Superior Court, Case No.
  GIC875253
 Burger v. J.C. Penney Company, Inc., San Diego County Superior Court, Case No.
  37-2008-00083751-CU-BT-CTL
 Cole v. Sport Chalet, Inc., San Diego County Superior Court, Case No. 37-2008-
  00081675 CU-BT-CTL
 Cole v. The Sports Authority, Inc., San Diego County Superior Court, Case No. 37-
  2008-00081686 CU-BT-CTL
 Johnson v. Lerner New York, San Diego County Superior Court, Case No. 37-2008-
  00080567-CU-BT-CTL
 Anderson v. United Retail, San Diego County Superior Court, Case No. 37-2008-
  00089685-CU-BT-CTL
 Spangler v. Bass Pro Outdoor World, LLC, San Bernardino County Superior Court,
  Case No. CIVSS 810285
 Fogelstrom v. Everfast, Inc., San Diego County Superior Court, Case No. 37-2008-
  00086675-CU-BT-CTL
 Korn v. Polo Ralph Lauren Corporation, Eastern District of California, No. 07-CV-
  02745-FCD-JFM
 Anderson v. Tuesday Morning Corporation, San Diego County Superior Court, Case
  No. 37-2008-00088654-CU-BT-CTL
 Miller v. Road Runner Sports, Inc., San Diego County Superior Court, Case No. 37-
  2008-00093271-CU-BT-CTL
 Diebel v. BCBG MAX AZRIA GROUP, Inc., San Diego County Superior Court, Case
  No. 37-2008-00085129-CU-BT-CTL
 Fogelstrom v. Tween Brands, Inc., San Diego County Superior Court, Case No. 37-
  2008-00060767-CU-BT-NC
 In Re: Payless Shoesource, Inc. California Song-Beverly Credit Card Act Litigation,
  Eastern District of California, Case No. 09-MD-02022 FCD (GGH)
 Sturgeon v. Jones Retail Corporation, Southern District of California, Case No. 09-
  CV-00507-WQH (WVG)
 Nelson v. Destination Maternity Corporation, San Francisco County Superior Court,
  Case No. CGC-11-508949
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 Giacometti v. True Religion Apparel, Inc., Placer County Superior Court, Case No. S-
  CV0027951
 Vaughan, et al. v. Home Depot U.S.A., Inc., Eastern District of California, Case No.
  2:11-cv-1041-GEB-CKD
 Swaney v. Lowe's HIW, Inc., Northern District of California, Case No. CV-11-03231
 Pabst v. Genesco, Inc., Northern District of California, Case No. CV-11-04881
 Sunseri v. Maidenform Brands, Inc., Napa County Superior Court, Case No. 26-52359
 Burdewick v. Leslie’s Poolmart, Inc., Eastern District of California, Case No. 2:11-
  CV-01085-JAM-EFB
 Nordstrom, Inc. Song-Beverly Act Cases, Los Angeles County Superior Court, JCCP
  Case No. 4651
 Vaughan, et al. v. Home Depot U.S.A., Inc., Eastern District of California, Case No.
  2:11-CV-1041
 Alvarez v. Brookstone Company, Inc., San Diego County Superior Court, Case No.
  37-2008-00097745
 O'Connor v. Euromarket Designs, Inc., Northern District of California, Case No.
  3:11-CV-02140
 Georgino v. Sur La Table, Inc., Central District of California, Case No. CV 11-03522
 Seebrook v. The Children's Place Retail Stores, Inc., Northern District of California,
  Case No. 11-CV-00837
 Krieger v. The Buckle, Inc., San Francisco County Superior Court, Case No. CGC-12-
  517304
 Morey v. Louis Vuitton North America, Inc., Southern District of California, Case No.
  11-cv-01517
 Chaikin v. Lululemon USA Inc., et al., Southern District of California, Case No. 12-
  CV-02481
 Michaels Stores Song-Beverly Cases, San Diego County Superior Court, JCCP Case
  No. 4684
 O’Leary v. Office Depot, Inc., Sacramento County Superior Court, Case No. 34-2012-
  00131227
 Dardarian v. OfficeMax North America, Inc., Northern District of California, Case
  No. 4:11-cv-00947
 Petersen v. Estee Lauder Companies, Inc., San Francisco County Superior Court,
  Case No. CGC-11-509129
 Hernandez v. Restoration Hardware, Inc., San Diego County Superior Court, Case
  No. 37-2008-00094395-CU-BT-CTL
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 Big 5 Sporting Goods Song-Beverly Cases, Los Angeles County Superior Court,
  JCCP Case No. 4667
 Trader Joe’s Song-Beverly Cases, Los Angeles County Superior Court, JCCP Case
  No. 4670
 Hernandez v. Old Navy, LLC, San Francisco County Superior Court, Case No. CGC-
   09-484229
 Zavis v. Swarovski North America LTD, San Diego County Superior Court, Case No.
  37-2015-00003586-CU-BT-CTL
 Nicolucci v. Sephora USA, Inc., San Francisco County Superior Court, Case No.
  CGC-11-508450
 Covell v. The Sleep Train, Inc., San Diego County Superior Court, Case No. 37-2014-
  00011275-CU-NP-CTL
 Harley Seegert v. P.F. Chang’s China Bistro, Inc., San Diego County Superior Court,
  Case No. 37-2017-00016131-CU-MC-CTL

CONSUMER CLASS ACTION LITIGATION

Attorneys at Stonebarger Law have successfully served as Class Counsel prosecuting
numerous Class Actions to Judgment against large corporations for violations of
California consumer protection statutes, recovering millions of dollars in benefits for
individuals across the country, including in the following cases:

 Christopher v. Baskin-Robbins, USA, LLC, San Diego County Superior Court,
  Case No. 37-2007-00069556-CU-BT-CTL
 Kedem v. Toys 'R' Us, Inc., Santa Clara County Superior Court, Case No. 1-09- CV-
  141570
 In Re: Heartland Payment Systems, Inc. Data Security Breach Litigation, Southern
  District of Texas, Case No. 4:09-MD-2046 (Mr. Stonebarger served as a member of
  the Executive Committee in the Consumer Track Actions in this MDL proceeding
  relating to a security breach whereby consumer credit card information was
  compromised)
 Alcarion v. Charlotte Russe, Inc., et al., Southern District of California, Case No.
  3:13-cv-01176-DMS-NLS
 Guess Outlet Stores Pricing Cases, Los Angeles County Superior Court, JCCP No.
  4883
 Ramos v. AM Retail Group, Inc., Sacramento County Superior Court, Case No. 34-
  2019-00250084-CU-NP-GDS
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LENDER MISCONDUCT CLASS ACTION LITIGATION

Attorneys at Stonebarger Law have successfully served as Lead Class Counsel
prosecuting Class Actions to Judgment against large lending institutions for violations of
California and Federal statutes, including in the following case:

 Shelton v. GMAC, LLC, Placer County Sup. Ct., Case No. SCV21807 (Mr.
  Stonebarger served as Lead Class Counsel in this class action alleging that Defendant
  Sent 1099-C Cancelation Of Debt Forms To Debtors And Then Subsequently
  Attempted To Collect On The Canceled Debts)




EMPLOYMENT CLASS ACTION LITIGATION

Stonebarger Law has successfully served as Co-Lead Class Counsel prosecuting Class
Actions to Judgment against large companies for violations of California and Federal
employment laws, including the following cases:

 Kool v. Target Corporation, Eastern District of California, Case No. 2:10-CV-02950-
  LKK-EFB (Wage and hour class action on behalf of pharmacists)
 Martin v. Warehouse Demo Services, Inc., Northern District of California, Case No.
  CV-10-04539 MMC (Wage and hour class action on brought on behalf of hourly
  employees working demonstration tables at Costco's stores across the State)
 La Masa v. IndyMac Resources, Inc., Stanislaus County Superior Court, Case No.
  626836 (Wage and hour class action on behalf of former IndyMac employees)
 Anderson v. Apple American Group, LLC, Sacramento County Superior Court, Case
  No. 34-2010-00093705 (Class action brought on behalf of Applebee's employees for
  being required to purchase uniforms in violation of California Law)
 Duke v. Adventist Health System/West, et al., Sacramento County Superior Court, Case
  No. 34-2010-00073533-CU-OE-GDS (Wage and hour class action on behalf of former
  nurses working at St. Helena Hospital Clearlake)
 Delfierro v. White House Black Market, Inc., Sacramento County Superior Court, Case
  No. 34-2014-00159390
 Chase, et al. v. Rite Aid Corp., Los Angeles County Superior Court, Case No.
  BC381055 (Coordinated wage and hour class action on behalf of pharmacists
  employed by Rite Aid)
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MILITARY RIGHTS CLASS ACTION LITIGATION

Stonebarger Law served and serves as Co-Lead Class Counsel protecting the rights of
Military Members in numerous Class Action lawsuits filed against large companies for
violations of federal law, including the Uniformed Services Employment and
Reemployment Rights Act (“USERRA”), including the following cases:

 Duffer v. United Continental Holdings, Inc., Northern District of Illinois, Case No.
  1:13-cv-03756 (Class action brought on behalf of Military Pilots were United States
  Military Reservists for United and Continental's violations of USERRA and resolved
  on a Class-wide basis in 2018 providing millions of dollars to the Class)
 Moss v. United Airlines, Inc., et al., Northern District of Illinois, Case No. 1:16-cv-
  08496
 Hoefert v. American Airlines, Inc., U.S. District Court, District of Arizona, Case No.
  2:17-cv-02996
 Sorenson, et al. v. Delta Air Lines, Inc., Northern District of Georgia, Case No. 1:17-
  cv-00541
 Synoracki v. Alaska Airlines, Inc., et al., Western District of Washington, Case No.
  2:18-cv-01784
